                          UNITED STATES DISTRICT COURT
                                   for the Middle District of Tennessee

United States of America

                                                             NOTICE

v;
Eric Munchel
                                                            Case No. 3:21-inj-2668



                Type of case:               ❑   Civil                 ®      Criminal


     ® TAKE NOTICE that a proceeding in this case has been set for the place, date, and time set forth below:


Place      Video conference at U.S. Courthouse, 801 Broadway, Nashville, TN 37203

Room No.                                            Date   1. 19.21                      Time 9:30 AM


Type of Proceeding               Preliminary and Detention Hearing


     ❑ TAKE NOTICE that a proceeding in this case has been continued as indicated below:

Place


      Date and time previously scheduled:                                          Continued to:

Date                        Time                                      Date                     Time




                                                               JEFFERY S. FRENSLEY
                                                               U.S. Magistrate Judge or Clerk of Court

                                Date 1.11.21                   Surabhi Morrissey

                                                              (by) Deputy Cleric




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